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                            EXHIBIT B
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                                                                                         USA




                                                                                           2017
                                                                                           Owner's Handbook &
                                                                                           Warranty Information




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         OWNER INFORMATION CHANGE CARD
                                                                                                              Check one:
         If you have changed your address or if you are the second or subsequent owner
         of your Hyundai, please notify us immediately by completing and mailing this                          Change of Ownership
         owner information change card to:                                                                     Change of Address

         Hyundai Customer Care Center                                                    I no longer own this automobile as of    /     /
         Hyundai Motor America                                                           It was:
         PO Box 20850                                                                     Exported	              Sold
         Fountain Valley, CA 92728
                                                                                          Destroyed	             Stolen

         NEW OWNER INFORMATION                                                                            Miss      Ms.    Mrs.             Mr.
                                                                                                                      CIRCLE
         LAST NAME                              FIRST                            M.I.

                                                                                                                                      APT.
         MAIL ADDRESS: NUMBER                                  STREET

                                                                                                                                 ZIP CODE
         CITY/TOWN                                                                      STATE

                -        -                         Home    Work    Cell
         TELEPHONE NUMBER                                 CIRCLE
         VEHICLE IDENTIFICATION: The VIN is located on the driver’s side of the dash.

         VEHICLE IDENTIFICATION NUMBER                                                                             ODOMETER READING


                                            SIGNATURE
                                                                                                                                                  1




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                                * FOR ROADSIDE ASSISTANCE CALL 1-800-243-7766 (See page 6 for details)

                                                                                                                                                                     3




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            SECTION 1	                                                                                     OWNER INFORMATION

            HYUNDAI VEHICLE OWNER PRIVACY POLICY                           GENERAL INFORMATION
SECTION 1



            Your Hyundai vehicle may be equipped with technologies and     This handbook describes the consumer information and
            services that use information collected, generated, recorded   warranties relating to your new Hyundai vehicle.
            or stored by the vehicle. Hyundai has created a Vehicle
            Owner Privacy Policy to explain how these technologies and     Please read this handbook carefully to familiarize yourself
            services collect, use, and share this information.             with the type of service which you are entitled to under each
                                                                           of the warranties applicable to your new Hyundai vehicle.
            You may read our Vehicle Owner Privacy Policy on the
            HyundaiUSA.com website at: https://www.hyundaiusa.com/         To familiarize yourself with your new Hyundai vehicle, we
            owner-privacy-policy.aspx. If you would like to receive        suggest you also review the maintenance requirements
            a hard copy of our Vehicle Owner Privacy Policy, please        and operational features described in the Hyundai Owner’s
            contact our Customer Care Center at:                           Manual.
            Hyundai Motor America/Phoenix Hyundai Customer Care
            Center
            P.O. Box 83835
            Phoenix, AZ 85071-3835
            1-800-633-5151
            consumeraffairs@hmausa.com

            Hyundai's Customer Care Center representatives are available
            Monday through Friday, between the hours of 5:00 AM and
            7:00 PM PST and Saturday and Sunday between 6:30 AM and
            3:00 PM PST (English). For Customer Care Care assistance
            in Spanish or Korean, representatives are available Monday
            through Friday between 6:30 AM and 3:00 PM PST.



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         SECTION 1	                                                        OWNER INFORMATION

         PRE-DELIVERY INSPECTION




                                                                                                      SECTION 1
         To ensure your satisfaction and long term enjoyment of your
         new Hyundai vehicle, your selling dealership has inspected
         and conditioned your vehicle to Hyundai’s recommended
         inspection and pre-delivery procedure standards.

         PERIODIC INSPECTION AND MAINTENANCE
         Regular inspection and maintenance by skilled Hyundai
         technicians are the key to more efficient operation of the
         vehicle. This inspection and maintenance must be carried
         out in accordance with the recommendations given in the
         Hyundai Owner’s Manual.




                                                                                               5




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            SECTION 2	                                                            HYUNDAI ROADSIDE ASSISTANCE PROGRAM

            HYUNDAI ROADSIDE ASSISTANCE PROGRAM                               TO RECEIVE ASSISTANCE CALL 1-800-243-7766
SECTION 2



            The Hyundai Roadside Assistance Program reflects Hyundai’s        A toll-free call to the Hyundai Roadside Assistance line
            commitment to your complete satisfaction with the Hyundai         will provide you with assistance for various Roadside
            ownership experience. It is available to you in all 50 states     Events. See "Coverage" section for details on program
            and Canada, 24 hours a day, 365 days a year.                      coverage. To receive Roadside Assistance, call the Hyundai
                                                                              Roadside Assistance Program phone number, and provide a
            60 MONTHS/UNLIMITED MILES COVERAGE                                representative with the following:
            Roadside Assistance is provided on all new 2017 model
                                                                              o	 Your Name
            Hyundai vehicles from the date the vehicle is delivered to the
                                                                              o	Vehicle Identification Number (VIN) located on the driver’s
            first retail buyer or otherwise put into use (in-service date),
                                                                                 side dashboard
            whichever is earlier, for a period of 60 months/unlimited
                                                                              o	 Vehicle Mileage
            miles.
                                                                              o	 Vehicle Location
                                                                              o	 Description of your vehicle’s problem




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         SECTION 2	                                                            HYUNDAI ROADSIDE ASSISTANCE PROGRAM

         COVERAGE                                                          o	If your vehicle has been diagnosed by an authorized
                                                                              Hyundai dealership and if the reason for the disablement




                                                                                                                                              SECTION 2
         The Hyundai Roadside Assistance Program provides you with
                                                                              is a warrantable issue, please contact the Hyundai
         the following services:
                                                                              Customer Care Center toll free number at 1-800-633-5151
                                                                              to request reimbursement.
         o	National Hyundai Dealership Locator Service provides you
                                                                           o	Examples of non-warranty related tows would include
            with the location or phone number of Hyundai Dealerships
                                                                              accidents or any other tow incident that is not the result
            or Authorized Service Facilities in the United States.
                                                                              of a defect in materials or workmanship.
         o	 Roadside Events are defined as either:
                                                                           o	Trip Interruption Benefit: In the event a warrantable
            1.	T owing: Transport for your vehicle to the nearest
                                                                              mechanical disablement occurs more than 150 miles away
                Hyundai Dealership or Authorized Service Facility, in
                                                                              from home, and your vehicle is disabled overnight due
                the unlikely event your vehicle is inoperable, or
                                                                              to a repair in process, Hyundai Roadside Assistance will
            2.	Roadside Services:
                                                                              reimburse you for reasonable expenses for meals, lodging,
                -	 Dead Battery/Jump Start
                                                                              or alternate transportation. Trip Interruption Benefit is
                -	Flat Tire Change
                                                                              limited to $100 per day, subject to a three-day maximum
                	(except vehicles that have been supplied with the
                                                                              limit per incident.
                   Tire Mobility Kit instead of a spare tire)
                                                                           o	Incidental or Consequential Damages, including without
                -	 Lock Out Service (keys locked in car)
                                                                              limitation, Loss of Time, Inconvenience, Loss of Use of the
                -	Gas Delivery (up to three gallons, where permissible,
                                                                              vehicle, or Commercial Loss are not covered under this
                   at no charge when you run out)
                                                                              Program.




                                                                                                                                       7




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            SECTION 2	                                                           HYUNDAI ROADSIDE ASSISTANCE PROGRAM

            EXCLUSIONS                                                       Hyundai Motor America (HMA) reserves the right to limit
                                                                             services or reimbursement to any owner or driver when, in
SECTION 2



            Roadside Assistance is not available for off-road conditions,
                                                                             Hyundai Motor America’s judgment, the claims are excessive
            or conditions manifesting themselves off-road. To receive
                                                                             in frequency or type of occurrence.
            service, the vehicle must be accessible from a publicly
            maintained road.

            Roadside Assistance is NOT A WARRANTY. For a description
            of the warranty covering your 2017 Hyundai, see the Hyundai
            New Vehicle Limited Warranty Section of this Owner's
            Handbook. Roadside Assistance is a limited service, provided
            to you to help minimize any unforeseen vehicle operation
            inconvenience.

            The Hyundai Roadside Assistance Program does not include
            reimbursement for any costs/charges for repairs, parts,
            labor, property loss or any other expense incurred as a
            result of accident/collision, vehicle abuse, racing, vandalism
            or other items not covered by the Hyundai New Vehicle
            Limited Warranty. Also excluded are services for snow tires,
            repair to studs, mounting or demounting of snow chains,
            and any fines, fees or taxes associated with impound towing
            as a result of any actual or alleged violation of any law or
            regulation.




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         SECTION 3	                                                                                   CONSUMER INFORMATION

         HYUNDAI’S CONSUMER ASSISTANCE PROCESS                           1)	First, speak to the Service Advisor at the dealership. This
                                                                             person is in the best position to respond to your concerns.




                                                                                                                                                SECTION 3
         Hyundai is dedicated to achieving the highest level of
                                                                         2)	Should you require additional assistance, speak with the
         consumer satisfaction with our product through quality
                                                                             Service Manager or General Manager at the dealership.
         design and workmanship and customer service. Your Hyundai
                                                                         3)	After consulting with your dealership, if you feel additional
         dealership is in the best position to assist you with your
                                                                             clarification or help is needed, write or call our Customer
         sales, service or parts needs.
                                                                             Care Center:
         In the event you have a concern with your vehicle, being able
                                                                                          HYUNDAI MOTOR AMERICA
         to provide the information below will be helpful in seeking
                                                                                         Hyundai Customer Care Center
         assistance:
                                                                                                PO Box 20850
                                                                                           Fountain Valley, CA 92728
         -	   Name and address
                                                                                               1-800-633-5151
         -	   Vehicle model and model year
                                                                                         Consumeraffairs@hmausa.com
         -	   Date of purchase
         -	   Vehicle Identification Number
                                                                         Hyundai's Customer Care Center representatives are available
         	    (a 17-Digit number found on driver’s side dashboard)
                                                                         Monday through Friday, between the hours of 5:00 AM and
         -	   Current mileage
                                                                         7:00 PM PST and Saturday and Sunday between 6:30 AM and
         -	   Selling and servicing dealership
                                                                         3:00 PM PST (English). For Customer Care Center assistance
         -	   Service history of your vehicle
                                                                         in Spanish or Korean, representatives are available Monday
         -	   Brief description of concern
                                                                         through Friday between 6:30 AM and 3:00 PM PST. They are
         -	   Day/evening telephone number
                                                                         prepared to answer any questions regarding your Hyundai,
         -	   What you are seeking
                                                                         and may also provide assistance in getting your concern
                                                                         resolved through the dealership.
         We recommend you use the following steps to resolve your
         vehicle's performance or servicing concerns:



                                                                                                                                         9




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            SECTION 3	                                                                                  CONSUMER INFORMATION

            ALTERNATIVE DISPUTE RESOLUTION                                  NOTE: If your state law requires written notification to the
                                                                            manufacturer please write:
SECTION 3



            Hyundai Motor America’s internal consumer assistance
            process will make every effort to resolve every customer
                                                                                 HYUNDAI MOTOR AMERICA
            concern in a satisfactory manner. We realize, however,
                                                                                 Hyundai Customer Care Center
            that mutual agreement on some issues may not be possible.
                                                                                 PO Box 20850
            To ensure that you have had an opportunity to have your
                                                                                 Fountain Valley, CA 92728
            concern fully reviewed, Hyundai Motor America provides an
                                                                                 Consumeraffairs@hmausa.com
            Alternative Dispute Resolution (arbitration) program. Hyundai
            offers the program through:
                                                                            To begin the Alternative Dispute Resolution (arbitration)
                                                                            process, simply call the Council of Better Business Bureaus at
                  BBB AUTO LINE
                                                                            1-800-955-5100 and you will be sent a Customer Claim
                  Alternative Dispute Resolution Division
                                                                            Form, along with a handbook describing how BBB AUTO
                  Council of Better Business Bureaus, Inc.
                                                                            LINE works. Time and mileage limitations may apply. Please
                  3033 Wilson Boulevard, Suite 600
                                                                            refer to the Owner’s Handbook Supplement for additional
                  Arlington, Virginia 22201
                                                                            information regarding eligibility requirements in your state.
                  1-800-955-5100
                                                                            IMPORTANT: You must use BBB AUTO LINE prior to seeking
            This service is provided at no cost to you and is part of
                                                                            remedies through a court action pursuant to the Magnuson-
            Hyundai’s effort to provide you with an impartial third-party
                                                                            Moss Warranty Act ("the Act"), except in Georgia, although
            organization to equitably resolve your concerns.
                                                                            that option is still available to you. However, if you choose to
                                                                            seek remedies that are not created by the Act, you are not
            AUTO LINE will perform arbitration services on disputes
                                                                            required to use BBB AUTO LINE, although that option is still
            involving Hyundai vehicles with an alleged nonconformity,
                                                                            available to you. You must also use BBB AUTO LINE if you
            defect, or deficient warranty performance, as may be
                                                                            are seeking remedies under the "Lemon Laws" of your state
            required by state or federal law.
                                                                            if your state statute requires you to do so.


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         SECTION 3	                                                                               CONSUMER INFORMATION
         A decision should be rendered within 40 days of AUTO LINE’s     Important: Please refer to the first page of the Hyundai
         receipt of your properly completed Customer Claim Form.         New Vehicle Limited Warranty section of this Owner's




                                                                                                                                       SECTION 3
         BBB will send you a copy of the arbitrator’s decision and       handbook for more important information regarding
         if you accept the decision, all parties must comply with the    alternative dispute resolution and other legal remedies
         decision within the time limits (performance date) set by the   available to you.
         arbitrator.

         Approximately two weeks after the "performance date", BBB
         shall contact the consumer to verify that the arbitrators’
         decision has been completed.

         AUTO LINE’s decisions do not include attorney’s fees,
         civil penalties, punitive damages, multiple damages or
         consequential damages other than incidental damages which
         you may be entitled to under law.

         If you reject the decision of the arbitrator you may pursue
         other legal remedies under state or federal law; the company
         will not be obligated to perform any part of the decision.
         Depending on federal or state law, the decision may or
         may not be introduced as evidence by the consumer or the
         company in any civil court action relating to any matter
         that has been resolved in your arbitration hearing and BBB
         involvement in the case will end as well.




                                                                                                                               11




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                    Hyundai Warranty Information




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                                                                 HYUNDAI SUMMARY OF WARRANTY COVERAGE
                                                                                                                                                YEARS
                                                                                          1              2              3              4              5              6              7               8             9          10
          New Vehicle                                                        5 years/60,000 miles
               • Adjustments                                                 1 year/12,000 miles
               • Air Conditioner Refrigerant Charge                          1 year/UNLIMITED MILEAGE
               • Paint                                                       3 years/36,000 miles
               • Radio, CD/DVD Player,
                Navigation System, Bluetooth                                 5 years/60,000 miles

               • 12V Battery                                                 3 years/36,000 miles
          Hybrid Battery, Plug-in Hybrid Battery, and
                                                                             10 years/100,000 miles                                                                Lifetime (ORIGINAL OWNER))
          Electric Vehicle Battery ①
          Hybrid System and Plug-in Hybrid System                            10 years/100,000 miles
          Powertrain ②                                                       5 years/60,000 miles                                                                  10 years/100,000 miles (ORIGINAL OWNER)
          Anti - Perforation                                                 7 years/UNLIMITED MILEAGE
          Emissions - Federal                                                5 years/60,000 miles (or up to first required scheduled maintenance, whichever occurs first)
          Emissions - Federal Specific Components ③                          8 years/80,000 miles
          Emissions - California                                             5 years/60,000 miles (or up to first required scheduled maintenance, whichever occurs first)
          Emissions - California Specific Components ④                       8 years/80,000 miles OR 7 years/70,000 miles
          Replacement Parts                                                  1 year/12,000 miles
          Accessories (installed by Authorized Hyundai Dealership) ⑤         5 years/60,000 miles
          Accessories (sold over the counter)                                1 year/UNLIMITED MILEAGE

         ①	Hyundai Lifetime Hybrid Battery, Plug-in Hybrid Battery, and Electric Vehicle Battery Warranty - Original Owner (applies to Hybrid Battery, Plug-in Hybrid Battery, and Electric Vehicle Battery only). The original
            owner is defined as the first retail purchaser of the vehicle who took delivery of the vehicle on its date of first use. The warranty for the Hybrid Battery, Plug-in Hybrid Battery, and Electric Vehicle Battery will
            remain in effect throughout the ownership period for the original owner.
         ②	Original Owner 10 Years/100,000 Miles, Subsequent Owner(s) 5 Years/60,000 Miles
         ③	Specific components, see "Federal Emission Warranty Parts," NOTE1, page 30
         ④	Specific components, see "California Emission Warranty Parts," NOTE1 and NOTE3, page 38
         ⑤	A Hyundai Genuine accessory installed by an Authorized Hyundai dealership on a new vehicle at the time of, prior to, or after the vehicle’s date of delivery to the original retail purchaser, or the date the vehicle
            is first put into service, is covered up to 5 years from the date of original retail delivery or date of first use, or 60,000 miles, whichever occurs first.


                                                                                                                                                                                                                               13




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            SECTION 4	                                                          HYUNDAI NEW VEHICLE LIMITED WARRANTY

            WARRANTOR                                                        ALTERNATIVE DISPUTE RESOLUTION
SECTION 4



            Hyundai Motor America (HMA) warrants your new 2017               If a dispute arises regarding your warranty coverage, please
            Hyundai vehicle pursuant to the limited warranties described     follow the steps described under the "Consumer Information"
            in this Owner's Handbook.                                        section of this handbook. To ensure that you have had an
                                                                             opportunity to have your concern fully reviewed, Hyundai
                                                                             provides an Alternative Dispute Resolution (arbitration)
            LIMITATIONS                                                      program that is offered through:
            Any implied warranty of merchantability or fitness for a
            particular purpose is limited to the duration of these written     BBB AUTO LINE
            warranties, except where the duration of implied warranties        Alternative Dispute Resolution Division
            is limited by state law in which case the state law duration       Council of Better Business Bureaus, Inc.
                                                                               3033 Wilson Boulevard, Suite 600
            limit shall apply. Some states do not allow limitations on how
                                                                               Arlington, VA 22201
            long an implied warranty lasts, so the above limitation may        1-800-955-5100
            not apply to you.
                                                                             Important: You must use BBB AUTO LINE prior to seeking
            These stated warranties give you specific legal rights.          remedies through a court action pursuant to the Magnuson-
            You may have other rights, which vary from state to state        Moss Warranty Act ("the Act"), except in Georgia, although
            depending upon applicable state law.                             that option is still available to you. However, if you choose to
                                                                             seek remedies that are not created by the Act, you are not
                                                                             required to use BBB AUTO LINE, although that option is still
            INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING
                                                                             available to you. You must also use BBB AUTO LINE if you
            WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,                 are seeking remedies under the "Lemon Laws" of your state
            LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS ARE               if your state statute requires you to do so. Please consult
            NOT COVERED UNDER THIS WARRANTY.                                 the "Consumer Information" section of this handbook and
                                                                             the Owner’s Handbook Supplement for more information
            Some states do not allow the exclusion or limitation of          about the BBB AUTO LINE program. Time and mileage
            incidental or consequential damages, so the above limitation     limitations may apply. Please refer to the Owner’s Handbook
            or exclusion may not apply to you.                               Supplement for additional information regarding eligibility
                                                                             requirements in your state.
            14




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         SECTION 4	                                                       HYUNDAI NEW VEHICLE LIMITED WARRANTY

         WARRANTY TRANSFERABILITY                                      WARRANTY JURISDICTION




                                                                                                                                          SECTION 4
         The New Vehicle Limited, Anti-Perforation Limited, Federal    These warranties apply to vehicles manufactured to United
         Emission Performance, Federal Emission Design and Defect,     States' specifications which are distributed by Hyundai Motor
         California Emission Control Systems, and Replacement Parts    America and registered and normally operated in the 50
         and Accessories Limited warranty coverage described in this   United States and Washington, D.C. Vehicles manufactured to
         handbook apply to the vehicle regardless of a change in       other than United States' specifications, distributed by other
         ownership, and are transferable to subsequent owners.         than HMA, and registered and normally operated outside
                                                                       the 50 United States and Washington, D.C., are entitled to
         The 10 years/100,000 miles Powertrain Limited Warranty is     warranty service on the basis of the warranty applicable to
         not transferable and applies only to the original owner, as   such other distributing country.
         defined under "Original Owner" included in the Powertrain
         Limited Warranty (Original Owner) section of this Owner's     JUDGMENT OF ALL WARRANTY MATTERS
         Handbook.
                                                                       Hyundai Motor America reserves the right to furnish the final
                                                                       decisions in all warranty matters.




                                                                                                                                  15




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            SECTION 4	                                                           HYUNDAI NEW VEHICLE LIMITED WARRANTY

            WHAT IS COVERED                                                   BATTERY 
SECTION 4



            Repair or replacement of any component originally                 An original equipment battery found to be defective in
            manufactured or installed by Hyundai Motor Company,               material or workmanship will be covered for the first 3 years
            Hyundai Motor Group, Hyundai Motor Manufacturing                  from the date of original retail delivery or date of first use,
            Alabama (HMMA), Kia Motors Manufacturing Georgia                  or 36,000 miles, whichever occurs first.
            (KMMG) or Hyundai Motor America (HMA) that is found to
            be defective in material or workmanship under normal use          	Thebattery specified in the paragraph above refers to the
            and maintenance, except any item specifically referred to in        standard 12 Volt battery and not the Hybrid Battery, Plug-
            the section "What is Not Covered." Towing expense to the            in Hybrid Battery nor the Electric Vehicle Battery which is
            nearest Hyundai Dealership or Authorized Service Facility is        covered under separate warranty requirements.
            covered when the vehicle is inoperable due to a warrantable
            defect. Repairs will be made using new Hyundai Genuine            ADJUSTMENTS
            Parts or Hyundai authorized remanufactured parts.
                                                                              Most service adjustments required as a result of a
                                                                              manufacturing deficiency are covered for the first year
            WARRANTY PERIOD                                                   or 12,000 miles, whichever occurs first. Thereafter,
            The warranty period is limited to 5 years from the date of        all adjustments will be considered owner maintenance
            original retail delivery or date of first use, or 60,000 miles,   responsibility.
            whichever occurs first.




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         SECTION 4	                                                              HYUNDAI NEW VEHICLE LIMITED WARRANTY

         AIR CONDITIONER REFRIGERANT CHARGE                                  *	Retain maintenance service records. It may be necessary
                                                                                 for you to show that the required maintenance has been




                                                                                                                                                    SECTION 4
         Air conditioner refrigerant charge is covered for the first
                                                                                 performed, as specified in the Hyundai Owner’s Manual.
         year from the date of original retail delivery or date of first
         use with no mileage limitation, unless the refrigerant charge       *	Deliver the vehicle during regular service business hours
         is done as part of a warrantable repair.                                to any authorized Hyundai Dealership to obtain warranty
                                                                                 service.
                                                                             *	Check for trim, paint or other appearance concerns at the
         RADIO AND SOUND SYSTEMS
                                                                                 time the new vehicle is delivered.
         An equipment radio, CD player, DVD player, Bluetooth, and
         Navigation System are covered for the first 5 years from the        WHAT IS NOT COVERED
         date of original retail delivery or date of first use, or 60,000
         miles, whichever occurs first.                                      *	Normal maintenance services such as: cleaning & polishing,
                                                                                minor adjustments, lubrication, oil/fluid changes, filters,
         PAINT                                                                  anti-freeze coolant replenishment, wheel alignment and
                                                                                tire rotation, unless such services are performed as part
         Paint repairs are covered for the first 3 years from the date          of a covered warrantable repair.
         of original retail delivery or date of first use or 36,000 miles,   *	Normal maintenance items (#) are warranted in normal
         whichever occurs first.
                                                                                service, only when the replacement is the result of a
                                                                                defect in material or factory workmanship, for 12 months
         Some minor cosmetic imperfections that are visible at
                                                                                from the date of original retail delivery or date of first
         delivery are covered for 1 year from the date of original
         retail delivery or date of first use, or 12,000 miles, whichever       use, or 12,000 miles, whichever occurs first, or up to the
         occurs first.                                                          first scheduled maintenance replacement interval (# -
                                                                                such as belts, brake pads and linings, clutch linings, filters,
         OWNER’S RESPONSIBILITIES                                               wiper blades and all bulbs, except halogen bulbs which
                                                                                are covered up to 3 years from the date of original retail
         *	Proper use, maintenance and care of your vehicle                    delivery or date of first use, or 36,000 miles, whichever
            in accordance with the instructions contained in this               occurs first).
            handbook and in the Hyundai Owner’s Manual.

                                                                                                                                            17




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            SECTION 4	                                                              HYUNDAI NEW VEHICLE LIMITED WARRANTY
            *	 Normal deterioration or wear of any part.                           -	Slight irregularities not recognized as affecting quality
               -	Spark plugs                                                         or function of the vehicle or parts, such as slight noise
SECTION 4



               -	Worn brake pads/linings                                             or vibration, or items considered characteristic of the
               -	Worn clutch linings                                                 vehicle.
               -	Filters                                                          -	Tires (See separate tire manufacturer’s warranty).
               -	Worn wiper blades                                                -	Airborne "fallout", industrial fall-out, acid rain, salt, hail
               -	Bulbs and fuses (except halogen bulbs which are                     and wind storms, or other Acts of God.
                  covered up to 3 years from the date of original retail           -	Paint scratches, dents, or similar paint or body damage.
                  delivery or date of first use, or 36,000 miles, whichever        -	Action of road elements (sand, gravel, dust or road
                  occurs first)                                                       debris) which result in stone chipping of paint and
               -	Other wear and consumable items                                     glass.
            *	Any vehicle where the odometer mileage has been altered.            -	Damage by rodents or any other damage not resulting
            *	Any vehicle that has been scrapped and a certificate of                from defects in material or workmanship.
               salvage has been issued for the vehicle.                         *	INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING
            *	Damage or failure resulting from:                                   WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,
               -	Negligence of proper maintenance as required in the              LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS
                  Hyundai Owner’s Manual.                                          ARE NOT COVERED UNDER THIS WARRANTY.
               -	Misuse, abuse, accident, theft, water/flooding or fire.
               -	Use of improper or insufficient fuel, fluids or lubricants.   OBTAINING WARRANTY SERVICE
               -	Use of parts other than Hyundai Genuine Parts, or
                                                                                Warranty service will be provided by an authorized Hyundai
                  parts of non-equivalent quality and design.
                                                                                dealership without charge for parts or labor. This warranty
               -	Any device and/or accessories not supplied by Hyundai.
                                                                                will not apply to warranty service performed by those other
               -	Modifications, alterations, tampering or improper repair.
                                                                                than an authorized Hyundai dealership.
               -	Parts or accessories used in applications for which they
                  were not designed or not approved by HMA.



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         SECTION 4	                                                    HYUNDAI NEW VEHICLE LIMITED WARRANTY

         TIRE INFORMATION




                                                                                                                   SECTION 4
         Tires originally equipped on Hyundai vehicles are warranted
         directly by the tire manufacturer.

         In the event that you need assistance in locating an
         authorized tire dealership, please contact your authorized
         Hyundai dealership, or Hyundai Customer Care Center.




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            SECTION 5	                                                                              HYUNDAI HYBRID SYSTEM WARRANTY

            WHAT IS COVERED                                                            For subsequent owners, the Hybrid Battery, Plug-in Hybrid Battery,
                                                                                       and Electric Vehicle Battery is warranted for 10 years from the
SECTION 5



            Repair or replacement of HYBRID SYSTEM components listed below,
                                                                                       date of original retail delivery or date of first use, or 100,000 miles,
            originally manufactured or installed by Hyundai Motor Company,
                                                                                       whichever occurs first.
            Hyundai Motor Group, Hyundai Motor Manufacturing Alabama
            (HMMA), Kia Motors Manufacturing Georgia (KMMG) or Hyundai
                                                                                       Note: For California Emissions Vehicles certified as a partial zero-
            Motor America (HMA) that are found to be defective in material or
                                                                                       emission vehicles, (PZEV) (excluding Delaware, Pennsylvania and
            factory workmanship under normal use and maintenance, except any
                                                                                       Washington), the Plug-in Hybrid Battery is covered for 10 years
            item specifically referred to in the section "What is Not Covered."
                                                                                       from the date of original retail delivery or date of first use, or
            Towing expense to the nearest Hyundai Dealership or authorized
                                                                                       150,000 miles, whichever occurs first.
            service location is covered when the vehicle is inoperable due to a
            warrantable defect within 10 years from the date of original retail
            delivery or date of first use, or 100,000 miles, whichever occurs first.   HYBRID SYSTEM
            "Owner’s Responsibilities" and "Obtaining Warranty Service" are the        Hybrid Battery*, along with the following Hybrid-Specific
            same as specified under the Hyundai New Vehicle Limited Warranty.          components that are directly attached to or integral to operation
            Repairs will be made using new Hyundai Genuine Parts or Hyundai            of the Hybrid Battery; Hybrid Battery Wire Harness; Battery
            authorized remanufactured parts.                                           Management System and Wire Harness; Blower Assembly; Electronic
                                                                                       Air Compressor; Active Air Flap Active Hydraulic Booster; EV Fuse;
            WARRANTY PERIOD                                                            Service Disconnect Plug; Power Relay Assembly; Hybrid Starter &
                                                                                       Generator; Auto Transmission & Traction Motor including housing
            The Warranty period for the following HYBRID SYSTEM components
                                                                                       case; clutch and all internal parts; Hybrid Power Control Unit;
            is limited to 10 years from the date of original retail delivery or date
                                                                                       Electronic Oil Pump Assembly; Electronic Water Pump with In and
            of first use, or 100,000 miles, whichever occurs first.
                                                                                       Out Hose Module.
            *HYUNDAI LIFETIME HYBRID BATTERY WARRANTY - Original Owner
            Only. The Original Owner is defined as the first retail purchaser of       OWNER'S RESPONSIBILITIES
            the vehicle who took delivery of the vehicle on its date of first use.     Your responsibilities are the same as those described in Hyundai
            The warranty for the Hybrid Battery will remain in effect throughout       New Vehicle Limited Warranty.
            the ownership period for the original owner.


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         SECTION 5	                                                            HYUNDAI HYBRID SYSTEM WARRANTY

         WHAT IS NOT COVERED




                                                                                                                     SECTION 5
         Items not covered by this warranty and any exclusion or limitations
         relating to this warranty are the same as those set forth in the
         "What is Not Covered" section of the Hyundai New Vehicle Limited
         Warranty already described in this handbook.

         INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING WITHOUT
         LIMITATION, LOSS OF TIME, INCONVENIENCE, LOSS OF USE OF THE
         VEHICLE, OR COMMERCIAL LOSS ARE NOT COVERED UNDER THIS
         WARRANTY.




                                                                                                             21




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            SECTION 6	                                   HYUNDAI POWERTRAIN LIMITED WARRANTY (ORIGINAL OWNER)

            WHAT IS COVERED                                                  WARRANTY PERIOD
SECTION 6



            Repair or replacement of powertrain components listed            For original owners only, this Powertrain Limited Warranty
            below, originally manufactured or installed by Hyundai           will begin upon expiration of the 5 years/60,000 miles New
            Motor Company, Hyundai Motor Group, Hyundai Motor                Vehicle Limited Warranty, and will continue to cover the
            Manufacturing Alabama (HMMA), Kia Motors Manufacturing           Engine and Transmission/Transaxle powertrain components
            Georgia (KMMG) or Hyundai Motor America (HMA) that are           listed on the following page up to 10 years from the date of
            found to be defective in material or factory workmanship         original delivery or the date of first use, or 100,000 miles,
            under normal use and maintenance, except any item                whichever occurs first. The Powertrain Limited Warranty is
            specifically referred to in the section "What is Not Covered."   not transferable to any subsequent owner. For subsequent
            Towing expense to the nearest Hyundai dealership or              owners, powertrain components are covered under the New
            authorized service location is covered when the vehicle          Vehicle Limited Warranty for 5 years/60,000 miles, whichever
            is inoperable due to a warrantable defect within 5 years         occurs first.
            from the date of original retail delivery or date of first
            use, or 60,000 miles, whichever occurs first. "Owner’s           The Powertrain Limited Warranty excludes coverage for
            Responsibilities" and "Obtaining Warranty Service" are the       vehicles placed in commercial use (e.g. taxi, route delivery,
            same as specified under the Hyundai New Vehicle Limited          rental, etc.).
            Warranty. Repairs will be made using new Hyundai Genuine
            Parts or Hyundai authorized remanufactured parts.




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         SECTION 6	                                    HYUNDAI POWERTRAIN LIMITED WARRANTY (ORIGINAL OWNER)

         ENGINE                                                            INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING
                                                                           WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,




                                                                                                                                                SECTION 6
         Cylinder block/head and all internal parts, manifolds, timing
                                                                           LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS ARE
         gears, timing chain, timing cover, gaskets and seals, oil pump,
                                                                           NOT COVERED UNDER THIS WARRANTY.
         water pump, fly-wheel, oil pan assembly, rocker cover and
         engine mounts, and turbocharger.
                                                                           ORIGINAL OWNER
         TRANSMISSION/TRANSAXLE                                            Original Owner is defined as the first retail purchaser of
                                                                           the vehicle who took delivery of the vehicle on its date of
         Case and all internal parts, axle shafts (front/rear), constant
                                                                           first use. If the vehicle was first placed in service as a lease
         velocity joints, front/rear hub bearings, propeller shafts,
                                                                           vehicle, and the lessee purchases the vehicle at the end of
         seals and gaskets, torque converter and converter housing
                                                                           the lease, the 10 years/100,000 miles Powertrain Limited
         and clutch cover and housing, transfer case, and rear
                                                                           Warranty remains in effect.
         differential for Hyundai vehicles.
                                                                           If the vehicle was first placed in service as a Hyundai Motor
         	
                                                                           America (HMA) Manager Demonstrator Vehicle, or Hyundai
           Auto  Transmission of HEV vehicle is covered under
                                                                           Service Loan Car, the original (first) retail purchaser of the
           HYBRID SYSTEM WARRANTY.
                                                                           vehicle is considered the original owner, and the 10 years/
         	See the detailed information in the Hybrid Warranty
                                                                           100,000 miles Powertrain Limited Warranty remains in effect.
           Section on page 20.
                                                                           This warranty is not transferable to any subsequent owner.
                                                                           Subsequent owners have powertrain components covered
         WHAT IS NOT COVERED                                               under the 5 years/60,000 miles Hyundai New Vehicle Limited
         Items not covered by this warranty and any exclusion or           Warranty. The 10 years/100,000 miles Powertrain Limited
         limitations relating to this warranty are the same as those set   Warranty also excludes coverage for vehicles placed in
         forth in the "What is Not Covered" section of the Hyundai         commercial use (e.g. taxi, route delivery, rental, etc.).
         New Vehicle Limited Warranty already described in this
         handbook.



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            SECTION 7	                                                    HYUNDAI ANTI-PERFORATION LIMITED WARRANTY

            WHAT IS COVERED                                                 OWNER’S RESPONSIBILITIES
SECTION 7



            Any Hyundai vehicle body sheet metal found, under normal        Your responsibilities are the same as those described in the
            use, to have developed a perforation (rust hole through the     Hyundai New Vehicle Limited Warranty with the exception of
            body panel) from corrosion due to defects in material or        one additional requirement:
            factory workmanship.                                            *	Retain any body repair records. It may be necessary for
                                                                               you to show that the required anti-corrosion material has
            WARRANTY PERIOD                                                    been applied to any previously replaced or repaired body
                                                                               components.
            7 years/unlimited mileage from the date of original retail
                                                                            *	Exhaust system components.
            delivery or date of first use.
                                                                            *	Corrosion of any part of the vehicle other than body
                                                                               panels.
                                                                            *	Corrosion of body panels that have been previously
                                                                               repaired or refinished from the original factory finish
                                                                               after the date of retail sale, except for body panels
                                                                               repaired under this Anti-Perforation Limited Warranty.
                                                                            *	INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING
                                                                               WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,
                                                                               LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS
                                                                               ARE NOT COVERED UNDER THIS WARRANTY.




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         SECTION 7	                                                           HYUNDAI ANTI-PERFORATION LIMITED WARRANTY
         *	Corrosion of any body panel replaced after the date                 Some states do not allow limitations on how long an implied
            of retail sale, except panels replaced under this Anti-             warranty lasts, or the exclusion or limitation of incidental or




                                                                                                                                                    SECTION 7
            Perforation Limited Warranty.                                       consequential damages, so the limitations or exclusions set
         *	Corrosion other than perforation. Cosmetic or surface               forth regarding this limited warranty may not apply to you.
            corrosion due to defects in material or factory
            workmanship is covered under Paint Coverage for 36
            months or 36,000 miles, whichever occurs first.
         *	Corrosion of the exterior surface of the underbody panels
            such as floor pan.
         *	Corrosion resulting from: misuse, accident or fire, stone
            chipping, airborne "fallout", industrial and/or chemical
            fallout, acid rain, tree sap, hail, wind storm, flood, or other
            Acts of God.
         *	Corrosion caused by lack of proper maintenance, misuse,
            or abuse.
         *	Matching of paint. Painting of the entire vehicle for
            matching of paint is not covered. Painting of the replaced
            or repaired panel to match the vehicle’s original finish is
            to be decided by HMA on a case by case basis.
         *	The duration of any implied warranties, including those
            of MERCHANTABILITY and FITNESS FOR A PARTICULAR
            PURPOSE, regarding perforation defects are limited to the
            duration of this limited warranty.




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            SECTION 8	                                                                  FEDERAL EMISSION DEFECT WARRANTY

            FEDERAL EMISSION CONTROL WARRANTY                                  INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING
                                                                               WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,
SECTION 8



            STATEMENT
                                                                               LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS ARE
            In accordance with the Federal Clean Air Act, as amended,          NOT COVERED UNDER THIS WARRANTY.
            Hyundai Motor America (HMA) warrants to the original and
            each subsequent owner of each new 2017 Hyundai vehicle
            that the vehicle: (1) was designed, built and equipped to
                                                                               WARRANTY JURISDICTION
            conform at the time of sale to applicable federal regulations      This warranty applies to vehicles manufactured to either
            and (2) is free from defects in material and workmanship           Federal specifications or California specifications which are
            at the time of sale which would cause the vehicle to fail to       distributed by Hyundai Motor America and registered and
            conform with such regulations for a period of 5 years from         normally operated in the 50 United States and Washington,
            the date of original retail delivery or date of first use or       D.C., the commonwealth of Puerto Rico, the Virgin Islands,
            60,000 miles, whichever occurs first, or up to first required      Guam, and American Samoa, and includes the commonwealth
            scheduled maintenance, whichever occurs first. Additionally,       of the Northern Mariana Islands.
            certain major emissions control components listed under the
            following "8 Years/80,000 Miles Federal Emission Warranty          INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING
            Parts List" will be covered for a period of 8 years from the       WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,
            date of original retail delivery or date of first use, or 80,000   LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS ARE
            miles, whichever occurs first. Any part of this vehicle covered    NOT COVERED UNDER THIS WARRANTY.
            under this warranty which proves to be defective will be
            repaired or replaced by an authorized Hyundai dealership
            using new or remanufactured Hyundai Genuine Parts. This            WHAT IS COVERED
            warranty coverage applies to the vehicle regardless of a           The primary components covered are listed on the following
            change in ownership and is transferable to subsequent              "5 Years/60,000 Miles Federal Emission Warranty Parts List"
            owners. Failures, other than those resulting from defects in       and "8 Years/80,000 Miles Federal Emission Warranty Parts
            material or workmanship, which arise solely as a result of         List."
            owner abuse and/or lack of proper maintenance, are not
            covered by the warranty.

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         SECTION 8	                                                   FEDERAL EMISSION DEFECT WARRANTY
         Some items require scheduled replacement as part of the
         scheduled maintenance of the vehicles. Replacement of




                                                                                                              SECTION 8
         these items is warranted in normal service up to the first
         replacement interval or up to the limits of the applicable
         emission warranty coverage period, whichever occurs first
         (Refer to the Hyundai Owner's Manual and its Scheduled
         Maintenance Section).




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            SECTION 9	                                                      FEDERAL EMISSION PERFORMANCE WARRANTY

            WARRANTY JURISDICTION                                           2.	The vehicle fails to conform during the warranty period
                                                                                to the applicable emission standards as determined by an
SECTION 9



            This warranty applies to vehicles manufactured to either
                                                                                emissions test approved by the Environmental Protection
            Federal specifications or California specifications which are
                                                                                Agency (EPA).
            distributed by Hyundai Motor America and registered and
                                                                            3.	The failure to conform results, or will result, in the owner
            normally operated in the 50 United States and Washington,
                                                                                of the vehicle having to bear a penalty or other sanctions,
            D.C., the commonwealth of Puerto Rico, the Virgin Islands,
                                                                                such as denial of the right to operate or use the vehicle or
            Guam, and American Samoa, and includes the commonwealth
                                                                                a fine under local, state or federal law.
            of the Northern Mariana Islands.
                                                                            If all of the above conditions are met, HMA warrants that
            INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING
                                                                            any authorized Hyundai dealership will replace, repair or
            WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,
                                                                            adjust to Hyundai’s specifications, at "NO CHARGE", any
            LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS ARE
                                                                            of the components listed on the following Federal Emission
            NOT COVERED UNDER THIS WARRANTY.
                                                                            Warranty Parts chart, which may be necessary to cause
                                                                            your vehicle to conform to the applicable federal emission
            WHAT IS COVERED                                                 standards.
            Some states and local jurisdictions have established periodic
            vehicle inspection and maintenance (I/M) programs to
            encourage proper maintenance of your vehicle. If an I/M
            program in your area has U.S. Environmental Protection Agency
            (EPA) approval, you may be eligible for HMA’s performance
            warranty coverage under the following conditions:

            1.	T he vehicle has been maintained and operated in
                accordance with the scheduled maintenance instructions
                described in the Hyundai Owner’s Manual provided with
                your vehicle.

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         SECTION 9	                                                         FEDERAL EMISSION PERFORMANCE WARRANTY

         WARRANTY PERIOD                                                    EMISSION WARRANTY PARTS LIST




                                                                                                                                                SECTION 9
         This warranty is effective for 5 years from the date of            Some items require scheduled replacement and are warranted
         original retail delivery or if the vehicle is first placed in      up to the first replacement interval or up to the limits of the
         service as a "demonstrator" or "Company" car prior to              applicable emission warranty coverage period, whichever
         delivery, on the date it is first placed in service, or 60,000     occurs first (Refer to the Scheduled Maintenance section in
         miles, whichever occurs first, or up to the first required         the Hyundai Owner’s Manual). The following is a listing of
         scheduled maintenance, whichever occurs first. Additionally,       Emission Parts covered under the emission warranties. For
         certain major emission control components listed under the         more details about the specific parts that are covered by the
         following "8 Years/80,000 Miles Federal Emission Warranty          Federal Emission Defect Warranty, contact your dealership. If
         Parts List" will be covered for a period of 8 years from the       failure of one of the following components results in failure
         date of original retail delivery or date of first use, or 80,000   of any other vehicle part, both parts will be covered by the
         miles, whichever occurs first. This warranty coverage applies      Federal Emission Performance Warranty.
         to the vehicle regardless of a change in ownership and is
         transferable to subsequent owners.                                 -	8 YEARS/80,000 MILES FEDERAL EMISSION DESIGN AND
                                                                               DEFECT WARRANTY PARTS LIST
         Note:
                                                                            If the vehicle has been in use more than 60 months from
         Federal Emission Warranty                                          the date of original delivery or date of first use, or 60,000
         The Federal government requires minimum emission warranty          miles but less than 8 years from the date of original delivery
         coverage for the first 2 years or 24,000 miles of vehicle          or date of first use, or 80,000 miles, whichever occurs first,
         use, with coverage for the first 8 years or 80,000 miles for       the following major emissions control components will be
         catalytic converters, the electronic engine control module,        covered up to 8 years from the date of original delivery or
         and the onboard emissions diagnostic device.                       date of first use, or 80,000 miles, whichever occurs first.

         Hyundai provides greater warranty coverage of 5 years or             Catalytic Converter
         60,000 miles for all emission related components and provides        Engine Control Module (includes Onboard Emission
         8 years or 80,000 miles coverage on the specific components          Diagnostic Device)
         noted.
                                                                                                                                        29




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            SECTION 9	                                                                                          FEDERAL EMISSION PERFORMANCE WARRANTY
            Air Induction System                                                                                  Vapor Storage Canister
               Air Cleaner Assembly                                                                               Canister Close Valve
SECTION 9



               Intake Manifold                                                                                    Canister Purge Control Valve
               Surge Tank                                                                                         Fuel Tank
               Turbocharger Assembly                                                                              Fuel Tank Pressure Sensor
               Intercooler Assembly                                                                               Fuel Filler Cap
               Exhaust Gas Recirculation                                                                          Vapor Liquid Separator
               EGR Cooler                                                                                         ORVR (Vent) Valve
            Fuel Metering System                                                                                  Rollover (Cut) Valve
               Coolant Temperature Sensor                                                                       Positive Crankcase Ventilation System
               Air Flow Sensor                                                                                    PCV Valve and Hose
               Manifold Absolute Pressure Sensor                                                                Catalyst and Exhaust System
               Speed Sensor                                                                                       Exhaust Manifold Catalytic Assembly *8/80: All vehicles
               Fuel Injectors                                                                                     Exhaust Manifold
               Fuel Delivery Line                                                                                 Exhaust Pipe (from manifold to catalyst)
               Fuel Pump                                                                                          Catalytic Converter Assembly *8/80: All vehicles
               High Pressure Pump (GDI)                                                                         Charging System
               Pressure Sensor                                                                                    Alternator
               Throttle Body                                                                                      Battery Sensor
               Throttle Position Sensor                                                                           OAD
               Idle Speed Control System                                                                        Hybrid System
               Oxygen Sensor                                                                                      Hybrid Battery Pack Assy *10/100 (The Hybrid Battery Pack Assy is warranted for Lifetime for the
               Engine Control Module *8/80: All vehicles                                                                                               Original Owner only, Subsequent Owner is 10/100)
               Knock Sensor                                                                                       Battery Management system *10/100 Original Owner & Subsequent Owner
            Ignition System                                                                                       Hybrid Power Control Unit *10/100 Original Owner & Subsequent Owner
               Spark Plugs and Ignition Wires                                                                   Miscellaneous Items Used In Above Systems
               Ignition Coil                                                                                      Hoses, clamps, gasket or seals
               Camshaft Position Sensor                                                                           Wires, harnesses, connectors
               Crankshaft Position Sensor                                                                         All sensors (switches, solenoids, valves) associated with the ECM
            Valve Timing System                                                                                 Onboard Emissions Diagnostic Device (Included in Engine Control Module) *8/80: All Vehicles
               Oil Control Valve Assy                                                                             Malfunction Indicator Light and Bulb
               Oil Temperature Sensor                                                                             Data Link Connector
            Evaporative Control System
            Spark plugs shall be warranted for the emissions warranty period, or the first scheduled replacement time or mileage, whichever occurs first.
            NOTE 1 :	 Parts designated by "8/80" are warranted for 8 years or 80,000 miles, whichever occurs first, under the Federal Emission Warranty.
            NOTE 2 :	Specific emission parts covered up to 5 years or 60,000 miles, whichever occurs first, or up to the first required scheduled maintenance, whichever occurs
                      first (See Hyundai Owner's Manual for required scheduled maintenance).
            NOTE 3 :	 Specific Hybrid System Parts designated by "10/100" are warranted for 10 years or 100,000 miles, whichever occurs first. See the detailed information in
                      the Hybrid Warranty Section on Page 20.
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         SECTION 9	                                                       FEDERAL EMISSION PERFORMANCE WARRANTY

         WHAT IS NOT COVERED BY THESE EMISSION                            -	INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING
                                                                             WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,




                                                                                                                                              SECTION 9
         WARRANTIES
                                                                             LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS
                                                                             ARE NOT COVERED UNDER THIS WARRANTY.
         THE FEDERAL EMISSION DEFECT WARRANTY AND THE
         FEDERAL EMISSION PERFORMANCE WARRANTY SHALL NOT                  The duration of any implied warranties, including those
         APPLY TO:                                                        of MERCHANTABILITY and FITNESS FOR A PARTICULAR
                                                                          PURPOSE regarding emission systems defects are limited
         -	Normal maintenance service (such as filters).                 to the duration of these emission system warranties. Some
         -	Malfunctions in any part directly caused by misuse,           states do not allow limitations on how long an implied
            modification, improper adjustment, alteration, tampering,     warranty lasts, or the exclusion or limitation of incidental or
            disconnection, improper or inadequate maintenance, or         consequential damages, so the limitations or exclusions set
            use of leaded gasoline or contaminated fuel.                  forth regarding these warranties may not apply to you.
         -	Damage resulting from an accident or an Act of God.
         -	Any vehicle on which the odometer reading has been
            altered so that mileage cannot be readily determined.
                                                                          OWNER’S RESPONSIBILITY
         -	Failures that are a direct result of a lack of performance    It is the owner’s obligation to properly maintain and use the
            of required emission control maintenance as outlined in       vehicle in accordance with Hyundai’s written instructions in
            the Hyundai Owner’s Manual.                                   the Hyundai Owner’s Manual. Failures caused by inadequate
         -	Parts or accessories used in applications for which they      or improper maintenance are not covered by the warranty.
            were not designed or not approved by HMA.                     To help resolve questions as to whether the proper vehicle
         -	Parts not supplied by HMA or damage to other parts            maintenance has been performed, HMA urges that the owner
            caused directly by using non-Hyundai parts, non-EPA           retain all maintenance service records and receipts indicating
            certified replacement parts in the maintenance or repair      that service has been performed on the vehicle.
            of the vehicle which ultimately prove to be defective
            in material or workmanship, or not equivalent from an
            emission control standpoint to the original equipment part.

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            SECTION 9	                                                     FEDERAL EMISSION PERFORMANCE WARRANTY

            REPLACEMENT PARTS                                              MAINTENANCE SERVICE
SECTION 9



            It is recommended that any replacement parts used for          MAINTENANCE, REPLACEMENT OR REPAIR OF THE EMISSION
            maintenance or for the repair of emission control systems be   CONTROL DEVICES AND SYSTEMS MAY BE PERFORMED
            new or remanufactured Hyundai Genuine Parts.                   BY ANY QUALIFIED AUTOMOTIVE REPAIR ESTABLISHMENT
                                                                           OR INDIVIDUAL USING ANY PART CERTIFIED PURSUANT TO
            THE WARRANTY OBLIGATIONS ARE NOT DEPENDENT UPON                APPLICABLE EMISSION REGULATIONS:
            THE USE OF ANY PARTICULAR BRAND OF REPLACEMENT                 HOWEVER, WARRANTY SERVICE MUST BE PERFORMED BY
            PARTS. THE OWNER MAY ELECT TO USE NON-GENUINE                  AN AUTHORIZED HMA DEALERSHIP.
            HYUNDAI PARTS FOR REPLACEMENT PURPOSES. THE USE
            OF REPLACEMENT PARTS WHICH ARE NOT EQUIVALENT                  Claims under the Federal Emission Performance Warranty
            MAY IMPAIR THE EFFECTIVENESS OF THE EMISSION                   may not be denied due to the failure of a properly installed
            CONTROL SYSTEM.                                                certified non-Hyundai Genuine Part.

            If other than Hyundai Genuine Parts are used for maintenance   Claims may be denied on the basis of an uncertified
            replacements or for the repair of components affecting         replacement part used in the maintenance or repair of a
            emission control, the owner should determine that such parts   vehicle if Hyundai presents evidence that the uncertified
            are warranted by their manufacturer to be equivalent to        replacement part is either defective in materials or
            Hyundai Genuine Parts in performance and durability.           workmanship or not equivalent from an emission standpoint
                                                                           to the original equipment part and the vehicle owner is
            "New or Remanufactured Hyundai Genuine Parts" when used        unable to rebut the evidence.
            in connection with Hyundai vehicles, means parts
            manufactured by or approved by Hyundai, designed for use
            on Hyundai vehicles and distributed by HMA.




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         SECTION 9	                                                       FEDERAL EMISSION PERFORMANCE WARRANTY
         Receipts covering the performance of maintenance service         CLAIMS PROCEDURE
         should be retained in the event questions arise concerning




                                                                                                                                             SECTION 9
                                                                          To obtain warranty service under these warranties, the
         maintenance. These receipts should be transferred to each
                                                                          owner should return the vehicle to an authorized Hyundai
         subsequent owner of this vehicle. HMA reserves the right to
                                                                          dealership place of business during its normal service
         deny warranty coverage if the vehicle has not been properly
                                                                          business hours, where such service will be performed at no
         maintained. However, denial will not be based solely on the
                                                                          charge for parts, labor, diagnosis and tax.
         absence of maintenance records.
                                                                          If an owner’s warranty claim under the 2017 Federal Emission
         These warranties apply only to vehicles manufactured to
                                                                          Performance Warranty is denied, HMA will provide the owner
         United States' specifications which are distributed by Hyundai
                                                                          with a written explanation of why the claim was denied 1)
         Motor America and registered and normally operated in the
                                                                          within 30 days from the time you bring the car to a Hyundai
         50 United States and Washington, D.C., the commonwealth
                                                                          dealership, or 2) within the time required by local, state, or
         of Puerto Rico, the Virgin Islands, Guam, and American
                                                                          federal law for the vehicle to be repaired without incurring
         Samoa, and includes the commonwealth of the Northern
                                                                          further penalty, whichever is shorter.
         Mariana Islands. Vehicles manufactured to other than United
         States' specifications, distributed by other than HMA and
                                                                          Failure to provide an explanation within the 30-day period
         registered and normally operated outside the 50 United
                                                                          shall obligate HMA to remedy the nonconformity under the
         States and Washington, D.C., the commonwealth of Puerto
                                                                          Federal Emission Performance Warranty except:
         Rico, the Virgin Islands, Guam, and American Samoa, or the
         Commonwealth of the Northern Mariana Islands are entitled
                                                                          o	When delay is requested by the vehicle owner.
         to service of the emission control systems on the basis of
                                                                          o	When delay is caused by factors beyond the control of
         the warranty applicable to such other distribution country.
                                                                             HMA or authorized Hyundai dealership.




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            SECTION 9	                                                     FEDERAL EMISSION PERFORMANCE WARRANTY
            If your Hyundai dealership cannot repair your vehicle or
            process your claim within a reasonable time, please contact
SECTION 9



            your Hyundai Customer Care Center for assistance: office for
            assistance.

            HYUNDAI MOTOR AMERICA
            Hyundai Customer Care Center
            PO Box 20850
            Fountain Valley, CA 92728
            1-800-633-5151
            Consumeraffairs@hmausa.com


            Further information can be obtained from and complaints
            registered with:

            U.S. Environmental Protection Agency
            Office of Transportation and Air Quality
            Compliance Division, Light-Duty Vehicle Division
            Attn: Warranty Complaints
            2000 Traverswood Drive
            Ann Arbor, MI 48105
            E-mail: complianceinfo@epa.gov




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         SECTION 10	                                                CALIFORNIA EMISSION CONTROL SYSTEMS WARRANTY

         CALIFORNIA EMISSION CONTROL WARRANTY                              MANUFACTURER’S WARRANTY COVERAGE:




                                                                                                                                               SECTION 10
         STATEMENT                                                         1.	 For 5 years or 60,000 miles (whichever occurs first):
                                                                               -	If your Hyundai vehicle fails a Smog Check inspection,
         YOUR WARRANTY RIGHTS AND OBLIGATIONS                                     all necessary diagnosis, repairs and adjustments will
                                                                                  be made by HMA to ensure that your vehicle passes
         The California Air Resources Board and Hyundai Motor                     the inspection. This is your California Emission Control
         America (HMA) are pleased to explain the California Emission             System PERFORMANCE WARRANTY.
         Control System Warranty on your 2017 Hyundai vehicle                  -	If any emission-related part on your vehicle is
         certified for sale in California.                                        defective, the part will be repaired or replaced by HMA.
                                                                                  This is your short-term California Emission Control
         In California, new motor vehicles must be designed, built and            System DEFECT WARRANTY.
         equipped to meet the State’s stringent anti-smog standards.       2.	Long-term California Emission Control System DEFECT
         HMA must warrant the emission control system on your                  WARRANTY If an emission-related part listed in this
         Hyundai vehicle for the periods of time listed below, provided        Owner's Handbook on the Warranty Parts List specifically
         there has been no abuse, neglect or improper maintenance              noted with coverage for "7 years or 70,000 miles" or
         of your Hyundai vehicle.                                              "8 years or 80,000 miles" is defective, the part will be
                                                                               repaired or replaced by HMA. This is your long-term
         Your emission control system includes parts such as the               California Emission Control System DEFECT WARRANTY.
         fuel injection system, ignition system, catalytic converter,          o	Specific emission components are covered for 7 years
         and engine computer. Also included may be hoses, belts,                  or 70,000 miles, whichever occurs first, see Page 38,
         connectors and other emission-related assemblies. Where a                NOTE1.
         warrantable condition exists, HMA will repair your Hyundai            o	Specific emission components are covered for 8 years
         vehicle at no cost to you including diagnosis, parts and labor.          or 80,000 miles, whichever occurs first, see Page 38,
                                                                                  NOTE2.




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             SECTION 10	                                               CALIFORNIA EMISSION CONTROL SYSTEMS WARRANTY
             3. F or 2017 Elantra, 2017 Sonata, 2017 Sonata Plug-in           You are responsible for presenting your Hyundai vehicle to a
SECTION 10


               Hybrid, and 2017 Ioniq Plug-in Hybrid model certified as        Hyundai dealership as soon as a problem exists. The warranty
               a partial zero-emission vehicles, (PZEV) only, all parts        repairs should be completed in a reasonable amount of time.
               covered under the PERFORMANCE WARRANTY and the
               DEFECT WARRANTY, which are listed in this Owner's               As the Hyundai vehicle owner, you should also be aware that
               Handbook on the Emission Warranty Parts List, are               HMA may deny your warranty coverage if your Hyundai
               warranted for 15 years or 150,000 (excluding the Plug-in        vehicle or a part has failed due to abuse, neglect, improper
               Hybrid Battery) whichever occurs first (for the states listed   maintenance or unapproved modifications.
               under the Warranty Jurisdiction (on page 37), excluding
               Delaware, Pennsylvania, and Washington). See page 37,           If you have any questions regarding your warranty rights
               NOTE1 and NOTE2, and page 38, NOTE4.                            and responsibilities, you should contact the Hyundai
                                                                               Customer Care Center at 1-800-633-5151 or the California
             Warranty Coverage for the 2017 Sonata Plug-in Hybrid              Air Resources Board at 9528 Telstar Avenue, El Monte CA
             Battery and 2017 Ioniq Plug-in Hybrid Battery, certified as       91731.
             a PZEV only, is warranted for 10 years or 150,000 miles and
                                                                               INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING
             not 15 years 150,000 miles, whichever occurs first (excluding
                                                                               WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,
             Delaware, Pennsylvania and Washington).
                                                                               LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS ARE
                                                                               NOT COVERED UNDER THIS WARRANTY.
             OWNER’S WARRANTY RESPONSIBILITIES
             As the Hyundai vehicle owner, you are responsible for             Specific emission parts are covered up to 5 years or 60,000
             the performance of the required maintenance listed in the         miles, whichever occurs first, or up to the first required
             Hyundai Owner’s Manual. HMA recommends that you retain            scheduled maintenance, whichever occurs first, See Page 38,
             all receipts covering maintenance on your Hyundai vehicle,        NOTE3.
             but HMA cannot deny emission warranty coverage solely
             for the lack of receipts or for your failure to ensure the
             performance of all scheduled maintenance.

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         SECTION 10	                                                CALIFORNIA EMISSION CONTROL SYSTEMS WARRANTY

         WARRANTY JURISDICTION




                                                                                                                                           SECTION 10
                                                                           SPECIAL NOTE : According to Federal Regulations, your
         This warranty applies exclusively to vehicles manufactured to
         California specifications which are distributed by Hyundai        vehicle may also be eligible for additional warranty
         Motor America and must be sold, registered and operated           coverage under the Federal Emission Warranty. California
         in the states of California, Connecticut, Delaware, Maine,        requires minimum emission warranty coverage of the
         Maryland, Massachusetts, New Jersey, New York, Oregon,            first 3 years or 50,000 miles of vehicle use, with coverage
         Pennsylvania, Rhode Island, Vermont or Washington.                for the first 7 years or 70,000 miles for certain "high
                                                                           cost" emission related parts, determined by a California
         Its coverage exists in addition to that of the Federal Emission   government specified formula.
         Defect Warranty and the Federal Emission Performance
         Warranty.                                                         Hyundai provides greater warranty coverage of 5 years
                                                                           or 60,000 miles for all emission related components and 8
         NOTE1: The 15 years or 150,000 miles extended warranty            years or 80,000 miles coverage for catalytic converters,
         applies to parts covered under the Performance and Defect         the electronic engine control module (includes the onboard
         Warranty, excluding the Plug-in Hybrid Battery, as listed         emissions diagnostic device).
         in this Owner's Handbook to PZEV-certified only vehicles
         sold, registered and operated in the listed states, under the     WARRANTY PARTS LIST
         Warranty Jurisdiction (see page 36), with the exception of        The 5 years/60,000 miles California Emission Control System
         Delaware, Pennsylvania and Washington. The 15 years or            Defect Warranty covers any part that can affect emissions.
         150,000 miles extended warranty does not apply in Delaware,       Some of these consist of the following parts:
         Pennsylvania, or Washington.

         NOTE2: Warranty coverage for the Plug-in Hybrid Battery
         is 10 years or 150,000 miles and not 15 years or 150,000
         miles, whichever occurs first, with the exception of Delaware,
         Pennsylvania and Washington.


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             SECTION 10	 5 YEARS/60,000 MILES CALIFORNIA
                                                     CALIFORNIA
                                                         VEHICLE EMISSION
                                                                 EMISSION CONTROL
                                                                          WARRANTYSYSTEMS
                                                                                    PARTS WARRANTY
             Air Induction System                                                                                                             Fuel Tank *7/70: Accent 1.6L, Veloster 1.6L/1.6L-Turbo, Elantra GT 2.0L, Sonata 1.6L-Turbo/2.0L/2.4L, Azera 3.3L,
                 Air Cleaner Assembly                                                                                                                           Tucson 1.6L-Turbo/2.0L Santa Fe Sport 2.0L-Turbo/2.4L, Santa Fe 3.3L, Sonata Hybrid 2.0,
SECTION 10


                                                                                                                                                                Sonata Plug-in Hybrid 2.0, Ioniq Hybrid 1.6L
                 Intake Manifold *7/70: Elantra 2.0L/1.4L-Turbo/1.6L-Turbo, Santa Fe Sport2.4L, Tucson 2.0L, Azera 3.3L, Accent 1.6L,
                                       Veloster1.6L, Santa Fe 3.3L, Sonata Hybrid 2.0, Sonata Plug-in Hybrid 2.0, Ioniq Hybrid 1.6L           Fuel Tank Pressure Sensor
                 Surge Tank *7/70: Azera 3.3L, Santa Fe 3.3L                                                                                  Fuel Filler Cap
                 Turbocharger Assembly *7/70: Veloster 1.6L-Turbo, Santa Fe Sport 2.0L-Turbo, Tucson 1.6L-Turbo,                              Vapor Liquid Separator
                                                          Sonata 1.6L-Turbo/2.0L-Turbo, Elantra 1.4L-Turbo/1.6L-Turbo                         ORVR (Vent) Valve
                 Intercooler Assembly                                                                                                         Rollover (Cut) Valve
                 Exhaust Gas Recirculation                                                                                                Positive Crankcase Ventilation System
                 EGR Cooler *7/70                                                                                                             PCV Valve and Hose
             Fuel Metering System                                                                                                         Catalyst and Exhaust System
                 Coolant Temperature Sensor                                                                                                   Exhaust Manifold Catalytic Assembly *8/80
                 Air Flow Sensor                                                                                                              Exhaust Manifold
                 Manifold Absolute Pressure Sensor                                                                                            Exhaust Pipe (from manifold to catalyst) *7/70: Sonata 1.6L-Turbo/2.0L-Turbo
                 Speed Sensor                                                                                                                 Catalytic Converter Assembly *8/80
                 Fuel Injectors
                 Fuel Delivery Line                                                                                                       Charging System
                 Fuel Pump *7/70: Elantra 2.0L/1.4L-Turbo/1.6L-Turbo, Sonata 2.0L-Turbo                                                       Alternator *7/70: Tucson 1.6L-Turbo, Santa Fe Sport 2.0L-Turbo/2.4L
                 High Pressure Pump (GDI) *7/70: Accent 1.6L, Santa Fe Sport 2.0L-Turbo/2.4L, Sonata 1.6L-Turbo, Azera 3.3L,                  Battery Sensor
                                                           Santa Fe 3.3L, Elantra 1.4L-Turbo/1.6L-Turbo, Tucson 1.6L-Turbo                    OAD
                 Pressure Sensor                                                                                                          Hybrid System (see NOTE5 below)
                 Throttle Body                                                                                                                Hybrid Battery *10/100
                 Throttle Position Sensor                                                                                                     Battery Management system *10/100
                 Idle Speed Control System                                                                                                    Hybrid Power Control Unit *10/100
                 Oxygen Sensor
                                                                                                                                          Plug-in Hybrid System (see NOTE5 below)
                 Engine Control Module *8/80                                                                                                  Hybrid Battery *10/150
                 Knock Sensor
                                                                                                                                              Battery Management system *10/150
             Ignition System                                                                                                                  Hybrid Power Control Unit *10/150
                 Spark Plugs and Ignition Wires
                 Ignition Coil                                                                                                            Miscellaneous Items Used In Above Systems
                 Camshaft Position Sensor                                                                                                     Hoses, clamps, gasket or seals
                 Crankshaft Position Sensor                                                                                                   Wires, harnesses, connectors
             Valve Timing System                                                                                                              All sensors (switches, solenoids, valves) associated with the ECM
                 Oil Control Valve Assy                                                                                                   Onboard Emissions Diagnostic Device (Included in Engine Control Module)
                                                                                                                                              Malfunction Indicator Light and Bulb
                 Oil Temperature Sensor
             Evaporative Control System                                                                                                       Data Link Connector
                 Vapor Storage Canister
                 Canister Close Valve
                 Canister Purge Control Valve
             Spark plugs shall be warranted for the emissions warranty period, or the first scheduled replacement time or mileage, whichever occurs first.
             NOTE 1 :		 Parts designated by "7/70" are warranted for 7 years or 70,000 miles, whichever occurs first, under the California Emission Warranty.
             NOTE 2 :		 Parts designated by "8/80" are warranted for 8 years or 80,000 miles, whichever occurs first, under the Federal Emission Warranty. Vehicles covered by the California emission controls system warranty is also covered by the
                         Federal Emission Warranty.
             NOTE 3 :		 Specific emission parts covered up to 5 years or 60,000 miles, whichever occurs first, or up to the first required scheduled maintenance, whichever occurs first (See Hyundai Owner's Manual for required scheduled maintenance).
             NOTE 4 :		 The above parts for an Elantra, Sonata, Sonata Plug-in Hybrid, and Ioniq Plug-in Hybrid vehicle, certified as a partial zero-emission vehicle (PZEV) only, are warranted for 15 years or 150,000 miles, whichever occurs first, under
                         the California Emission Warranty (excluding the Plug-in Hybrid Battery). Please note: The Plug-in Hybrid Battery designated by "10/150" is warranted for 10 years or 150,000 miles, whichever occurs first, under the California
                         Emission Warranty for specific 2017 model year Sonata Plug-in Hybrid vehicles, certified as a PZEV only, and not 15 years or 150,000 miles. The certified PZEV vehicle must be sold, registered and operated in one of the following
                         states: California, Connecticut, Maine, Maryland, Massachusetts, New Jersey, New York, Oregon, Rhode Island, or Vermont (excluding Delaware, Pennsylvania and Washington), Section 10 of the Warranty Jurisdiction (see page 37
                         and NOTE1).
             NOTE 5 :		 Warranty coverage for the Hybrid System and Plug-in Hybrid System is 10 years or 100,000 miles, whichever occurs first, under the Hyundai Hybrid System and Plug-in Hybrid System Warranty. The Hybrid Battery, Plug-in Hybrid
             38          Battery, and Electric Battery is warranted for Lifetime for Original Owners only.




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         SECTION 10	                                                CALIFORNIA EMISSION CONTROL SYSTEMS WARRANTY
         Some items are scheduled for replacement as part of the           WHAT IS NOT COVERED




                                                                                                                                             SECTION 10
         required maintenance for the vehicle.
                                                                           THE CALIFORNIA EMISSION CONTROL SYSTEM DEFECTS
         Replacement of these items is warranted up to the first
                                                                           WARRANTY AND THE CALIFORNIA EMISSION CONTROL
         replacement interval or up to the limits of the applicable
                                                                           SYSTEM PERFORMANCE WARRANTY SHALL NOT APPLY TO:
         Emission Warranty coverage period, whichever occurs first
         (Refer to the Scheduled Maintenance chart in the Hyundai
                                                                           -	Malfunctions in any part directly caused by abuse, misuse,
         Owner’s Manual). Any such part repaired or replaced under
                                                                              modification, improper adjustment except those done by
         warranty shall be warranted for the remainder of the
                                                                              a dealership during warranty service work, alterations,
         warranty period for that part.
                                                                              tampering, disconnections, improper or inadequate
                                                                              maintenance, neglect or use of leaded gasoline or other
         If the failure of a warranted component causes damage to
                                                                              fuels not recommended in the Hyundai Owner’s Manual.
         any other vehicle part, both parts will be covered by the
                                                                           -	Damage resulting from an accident or an Act of God.
         Emission Warranties.
                                                                           -	Any vehicle on which the odometer reading has been
                                                                              altered so that actual mileage cannot be readily
         WARRANTY START DATE:                                                 determined.
         The above-mentioned warranty periods shall begin on the           -	Failures that are a direct result of a lack of performance
         date the vehicle is delivered to the first retail purchaser or,      of required emission control maintenance as outlined in
         if the vehicle is first placed in service as a demonstrator or       the Hyundai Owner’s Manual.
         company car prior to sale at retail, on the date the vehicle is   -	Parts or accessories used in applications for which they
         first placed in such service.                                        were not designed or not approved for use on the vehicle
                                                                              by HMA.
                                                                           -	Parts not supplied by HMA or damage to other parts
                                                                              caused directly by non-Hyundai parts or non-equivalent
                                                                              parts.
                                                                           -	The charge for diagnostic labor which does not lead to the
                                                                              determination that a warrantable condition exists.
                                                                                                                                     39




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             SECTION 10	                                               CALIFORNIA EMISSION CONTROL SYSTEMS WARRANTY
             -	INCIDENTAL OR CONSEQUENTIAL DAMAGES, SUCH AS,                 However, the cost of such maintenance and parts will not be
SECTION 10


                LOSS OF TIME, INCONVENIENCE, LOSS OF USE OF THE               covered under this warranty unless it is an "Emergency
                VEHICLE, OR COMMERCIAL LOSS ARE NOT COVERED                   Repair" situation (Refer to "Emergency Repair" for definition
                UNDER THIS WARRANTY.                                          of emergency repair situation).

             The duration of any implied warranties, including those          Use of replacement parts which are not equivalent in quality
             of MERCHANTABILITY and FITNESS FOR A PARTICULAR                  to Hyundai Genuine Parts may impair the effectiveness of
             PURPOSE, regarding emissions systems defects are limited         the emission control system. You should make sure such
             to the duration of this limited warranty.                        parts are warranted by their manufacturer to be equivalent
                                                                              in design and quality to Hyundai supplied parts. HMA assumes
             Some states do not allow limitations on how long an implied      no Iiability under this warranty for any vehicle damage
             warranty lasts or the exclusion or limitation of incidental or   caused by a defect in any such parts.
             consequential damage, so the limitations or exclusions set
             forth regarding this limited warranty may not apply to you.      OBTAINING WARRANTY SERVICE
                                                                              To obtain warranty service, you must return your Hyundai
             REPLACEMENT PARTS                                                vehicle to any authorized Hyundai dealership in California,
             It is recommended that any replacement parts used for            Connecticut, Delaware, Maine, Maryland, Massachusetts,
             maintenance, repair or replacement of the emission control       New Jersey, New York, Oregon, Pennsylvania, Rhode Island,
             system be parts supplied by HMA.                                 Vermont or Washington during its normal service business
                                                                              hours, where such service will be performed.
             Maintenance, repair or replacement of the emission control
             system may be performed by any qualified automotive repair
             facility or individual, using parts other than Hyundai Genuine
             Parts without invalidating this warranty.




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         SECTION 10	                                            CALIFORNIA EMISSION CONTROL SYSTEMS WARRANTY
         When failing a Smog Check test, an authorized Hyundai         The lack of availability of warranted parts within 30 days




                                                                                                                                        SECTION 10
         dealership may ask the owner to provide proof that the        shall constitute an emergency situation (see EMERGENCY
         required maintenance was performed when the dealership        REPAIR).
         has reason to believe that the required maintenance;
                                                                       EMERGENCY REPAIR
            o	 Was not performed and
                                                                       In an emergency, where an authorized Hyundai dealership
            o	If not performed, may be the cause for the particular
                                                                       is not reasonably available, warranty repairs may be made
               vehicle exceeding applicable emission standards.
                                                                       at any available service facility, or by the owner using any
                                                                       replacement part. A repair not being completed within 30
         For a Smog check test failure, if your Warranty Claim
                                                                       days also constitutes an emergency.
         under the 2017 California Emission Control Systems Limited
         Warranties is denied, HMA or its dealership will provide
                                                                       HMA will reimburse you for your expenses including
         you with a written explanation of why the claim was denied
                                                                       diagnostic charges, for repairs covered by this warranty,
         within 30 days from the time you bring the car to a Hyundai
                                                                       for parts at HMA’s suggested retail price, and for labor
         dealership.
                                                                       at a geographically appropriate labor rate per HMA’s
                                                                       recommended time allowance. For reimbursement, present
         If the authorized Hyundai Dealership does not notify the
                                                                       all replaced parts and a copy of your paid receipt to any
         vehicle owner within 30 days that a warrantable condition
                                                                       authorized Hyundai dealership. HMA assumes no liability for
         does not exist, then HMA will repair the vehicle free of
                                                                       the workmanship of the repair facility.
         charge, unless:

            o	The delay is requested by you, the Hyundai vehicle
               owner, or
            o	The delay is caused by factors beyond the control of
               HMA or an authorized Hyundai dealership.



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             SECTION 10	                                                CALIFORNIA EMISSION CONTROL SYSTEMS WARRANTY

             CALIFORNIA VEHICLE INSPECTION PROGRAM                             If your Hyundai vehicle is determined to fail the Smog Check
SECTION 10


                                                                               test by such service facility, you may deliver your Hyundai
             If your 2017 Hyundai vehicle fails to pass a Smog Check test
                                                                               vehicle to an authorized Hyundai dealership and have it
             after a period of use of 5 years or 60,000 miles, but before
                                                                               repaired free of charge in accordance with this warranty.
             a period of use of 8 years or 80,000 miles, whichever occurs
             first, you may choose to have your vehicle repaired at an
             authorized Hyundai dealership or another service facility.        OBTAINING WARRANTY SERVICE
                                                                               In the event of a Claim, you must return your vehicle to an
             In the event that the Hyundai dealership or determines            authorized Hyundai dealership for examination and approval
             that the smog check failure was caused by the failure             by Hyundai prior to any repair or replacement.
             or malfunction of a part listed in this Owner's Handbook
             specially noted with coverage for 8 years or 80,000 miles,        Warranty service will be provided by authorized Hyundai
             then your Hyundai vehicle will be repaired under this limited     dealership without charge for parts or labor.
             warranty at no expense to you, unless the part failure or
             malfunction was caused by abuse, neglect, or improper
             maintenance.

             However, if the authorized Hyundai dealership determines
             that the smog check failure was directly caused by
             abuse, neglect, or improper maintenance, then you will be
             responsible for all diagnostic and repair costs related to
             detecting and repairing your Hyundai vehicle so it will pass
             the Smog Check test. If you choose to have your Hyundai
             vehicle repaired at a service facility other than an authorized
             Hyundai dealership, HMA will not be liable for any diagnostic
             and repair expenses, except where such repair is necessary
             by reason of an emergency.

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         SECTION 11	                                    REPLACEMENT PARTS AND ACCESSORIES LIMITED WARRANTY

         WHAT IS COVERED                                                 REPLACEMENT PART WARRANTY PERIOD




                                                                                                                                            SECTION 11
         Warranty coverage is for repair or replacement of any           The Replacement Parts Limited Warranty period is limited
         Hyundai Genuine Replacement Part or Accessory supplied          to 1 year from the date of installation, or twelve thousand
         from Hyundai Motor America which is found to be                 (12,000) miles of service, whichever occurs first, for Hyundai
         defective in material or workmanship under normal use and       Genuine replacement parts supplied by HMA and purchased
         maintenance, except any item specifically referred to in the    from and installed by an authorized Hyundai dealership.
         section "What is Not Covered."                                  Parts replaced under the terms of the New Vehicle Limited
                                                                         Warranty, Powertrain Limited Warranty, Federal Emission
         Repairs are to be performed using New Hyundai Genuine           Defect Warranty, Federal Emission Performance Warranty,
         Parts or Hyundai authorized remanufactured parts.               Hybrid System Warranty, or California Emission Control
                                                                         Systems Warranty, are warranted for the remainder of the
         Parts/Accessories that were sold and installed by an            applicable warranty which the part was previously replaced
         Authorized Hyundai Dealership will be repaired or replaced      under.
         without charge for parts/accessories and labor. If the parts/
         accessories were not originally installed by an Authorized      Certain Emission Control System items require scheduled
         Hyundai Dealership, they will be repaired or replaced without   replacement as part of the scheduled maintenance of the
         charge for parts/accessories, but labor charges will not be     vehicle (i.e. spark plugs). Replacement of these items is
         covered.                                                        warranted in normal service up to the first replacement
                                                                         interval only (Refer to the Hyundai Owner’s Manual and
         INClDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING                  its scheduled maintenance section). Genuine Hyundai Parts
         WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,                and Accessories supplied by HMA and purchased from
         LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS ARE              an authorized Hyundai dealership, but not installed by an
         NOT COVERED UNDER THIS WARRANTY.                                authorized Hyundai dealership, are covered for twelve (12)
                                                                         months from the date of purchase from the authorized
                                                                         Hyundai dealership.



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             SECTION 11	                                      REPLACEMENT PARTS AND ACCESSORIES LIMITED WARRANTY

             ACCESSORY WARRANTY PERIOD                                         OWNER’S RESPONSIBILITIES
SECTION 11



             A Hyundai Genuine accessory installed by an authorized            *	Proper use, maintenance, and care of the vehicle (part) in
             Hyundai dealership on a new vehicle at the time of, prior to,        accordance with the instructions contained in the Hyundai
             or after the vehicle’s date of delivery to the original retail       Owner’s Manual.
             purchaser, or the date the vehicle is first put into service,     *	Retention of maintenance service records. It may be
             is covered under the New Vehicle Limited Warranty and is             necessary for the customer to demonstrate and prove
             limited to 5 years from the date of original retail delivery or      that the required maintenance has been performed, as
             date of first use, or 60,000 miles, whichever occurs first.          specified in the Hyundai Owner’s Manual.
                                                                               *	Retention of the customer’s copy of the original repair
             A Hyundai Genuine accessory purchased over-the-counter is            order or original part counter sales receipts. The repair
             warranted for 1 year/unlimited mileage.                              order or sales slip receipt will state the date of the
                                                                                  parts sale. For parts originally installed by an authorized
             An air conditioning system installed by an authorized Hyundai        Hyundai dealership, the repair order must also state the
             dealership is covered for 1 year or twelve thousand (12,000)         mileage of the vehicle at the time of original replacement.
             miles, whichever occurs first, or the remainder of the New        *	Delivery of the part or accessory and supporting
             Vehicle Limited Warranty, whichever is greater, from the             documentation indicating the date and, if applicable,
             date of installation. An AM/FM radio, CD/DVD player, air             mileage at time of purchase and installation during regular
             conditioning system, Bluetooth or navigational system                parts and/or service hours to any authorized Hyundai
             purchased over the counter is warranted for 1 year/unlimited         dealership to obtain warranty service.
             mileage. AM/FM radio, CD/DVD player, navigational system,
             and Bluetooth are covered for 1 year/unlimited mileage if
             purchased and installed after the vehicle has been retailed or
             placed into service.




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         SECTION 11	                                     REPLACEMENT PARTS AND ACCESSORIES LIMITED WARRANTY

         WHAT IS NOT COVERED                                              *	The duration of any implied warranties, including those




                                                                                                                                            SECTION 11
                                                                             of MERCHANTABILTY and FITNESS FOR A PARTICULAR
         *	Normal maintenance services of parts or accessories such
                                                                             PURPOSE, are limited to the duration of this limited
             as: cleaning, adjustment or replacement (i.e. spark plugs
                                                                             warranty.
             that are oil fouled, lead fouled, or which fail due to the
             use of low grade or contaminated fuel).
                                                                          Some states do not allow limitations on how long an implied
         *	Parts or accessories that fail due to abuse, misuse,
                                                                          warranty lasts, or the exclusion or limitations of incidental
             neglect, alteration or accident, or which have been
                                                                          or consequential damages, so the limitation or exclusions set
             improperly lubricated or repaired.
                                                                          forth regarding this limited warranty may not apply to the
         *	Parts or accessories used in applications for which they
                                                                          owner.
             were not designed or not approved by HMA.
         *	Failures due to normal wear.
                                                                          NOTE:
         *	Failures caused by non-Hyundai parts.
                                                                          Vehicles which contain non-Hyundai Genuine parts, or which
         *	Any vehicle on which the odometer reading has been
                                                                          have been misused, or improperly maintained, will not have
             altered so that mileage cannot be accurately determined.
                                                                          the coverage under the Replacement Parts and Accessories
         *	Any part previously replaced under the terms of the New
                                                                          Limited Warranty denied, unless the non-Hyundai Genuine
             Vehicle Limited Warranty, Powertrain Limited Warranty,
                                                                          part, the misuse, or the improper maintenance directly
             Federal Emission Defect Warranty, Federal Emission
                                                                          caused or contributed to the subsequent problem.
             Performance Warranty, Hybrid System Warranty or
             California Emission Control Systems Warranty.
         *	INCIDENTAL OR CONSEQUENTIAL DAMAGES, INCLUDING                OBTAINING WARRANTY SERVICE
             WITHOUT LIMITATION, LOSS OF TIME, INCONVENIENCE,             Warranty Service will be provided by any authorized Hyundai
             LOSS OF USE OF THE VEHICLE, OR COMMERCIAL LOSS               dealership.
             ARE NOT COVERED UNDER THIS WARRANTY.




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